MEMO.ENDORSED

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October 27, 2020

By ECF

Hon. Nelson S. Roman

United States District Judge
Southern District of New York
300 Quarropas Street

White Plains, NY 10601

Re: United States v. Max Nieves
19 Cr 402 (NSR)
Dear Judge Roman:

I write requesting that the Court authorize me to submit interim vouchers in this case. I was
appointed to represent Mr. Nieves on May 15, 2019 pursuant to the Criminal Justice Act and I
have not yet been compensated for legal services rendered in the past nearly year and one-half.

If the foregoing is acceptable, then I respectfully request that the Court “So Order” this letter,
granting me permission to submit interim vouchers.

Thank you for your attention to, and consideration in, this matter.
Respectfully submitted,
/s/
Daniel S. Parker
Parker and Carmody, LLP
850 Third Avenue
14" Floor

New York, NY 10022
Cell: 917-670-7622

Counsel granted authorization to submit interim vouchers. Clerk

 

 

a == of Court requested to terminate the motion (doc. 29).
-UsEErl SONY Dated: Nov. 6, 2020
BC CUMENT a SO ORDERED: —— ti
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DATE reve) ol deke | HON. NELSON.S. ROMAN

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ee UNITED STATES DISTRICT JUDGE.
